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Andre Botha

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May 23, 2025

Clerk of Court
U.S. Bankruptcy Court, District of Delaware
824 N Market Street

Wilmington, DE 19801

Re: In re: FTX Trading Ltd., et al., Case No. 22-11068 (KBO)

Reply to Response of FTX Recovery Trust Regarding Motion to Compel Payment (Docket 30179)

Dear Clerk of Court,

| am replying to the response from Sullivan & Cromwell LLP, counsel to the FTX Recovery Trust, received
May 22, 2025, concerning my Motion to Compel Payment (Docket 30179). Their response fails to address
the legal merits of my motion and threatens expungement of my claim (Unique Customer Code
05732038) by June 1, 2025, requiring urgent court intervention.

Under 11 U.S.C. § 502, my claim, valued at $15,415-$16,700, is presumed valid unless objected to on
specific grounds like fraud, which the Trust has not alleged. Their KYC demands for “current income”
documentation (e.g., recent bank statements or salary slips) lack any basis in the Bankruptcy Code or
Second Amended Plan (Docket 26404). Since February 12, 2025, | have requested a legal justification for
these demands (see Exhibit A, filed April 29, 2025), but the Trust has provided none, undermining their
position.

The Trust’s response relies on the January 3, 2026, Claims Objection Deadline and the June 1, 2025, KYC
deadline (130th Omnibus Order, Docket 29464), claiming my failure to meet KYC renders my claim
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“Disputed.” This creates an inequitable catch-22: | must comply with baseless demands or lose my
claim, despite its validity. As a resident of Ecuador, | legally have no tax number since | neither work for a
company nor operate a business. My bank statements reflect my current lack of income, which is
irrelevant to my pre-petition claim’s legitimacy. These KYC requirements disproportionately penalize
creditors like me, contravening the Bankruptcy Code’s purpose of equitable treatment and recovery for
all creditors.

Moreover, the Trust has not demonstrated its authority under the Plan or Code to impose such post-
petition financial thresholds, which go beyond verifying identity or claim origin. Their tactic—delaying
engagement with my motion while enforcing the June 1 deadline—risks unjustly stripping me of my rights,
echoing the harm FTX’s original misconduct caused, albeit in a different form.

With June 1, 2025, less than 10 days away, | respectfully request an expedited hearing to prevent
expungement’s irreparable harm. Alternatively, | ask the Court to enjoin the Trust from expunging my
claim until it rules on my motion’s merits. Time is critical, and without swift action, | face further loss
despite the Trust’s failure to justify its stance.

lam mailing copies of this reply via USPS First-Class Mail to:
- Sullivan & Cromwell LLP, 125 Broad Street, New York, NY 10004

- U.S. Trustee, 844 King Street, Suite 2207, Wilmington, DE 19801

Thank you for addressing this urgent matter. | am available at mailbox@iprivateer.org or +593961 795073.

Respectfully,

/s/ Andre Botha

Andre Botha
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** DECLARATION OF ANDRE BOTHA**

|, Andre Botha, declare under penalty of perjury as follows:

1.1 am the claimant in the above-captioned case, identified by Unique Customer Code
05732038, with a claim valued at approximately $15,415-$16,700 against FTX Trading Ltd.,
et al.

2. | currently reside in Ecuador. Under Ecuadorian law, | am not required to have a tax
number because | neither operate a business nor am employed by a company. This is a
legal and compliant status in Ecuador.

3. My bank statements do not reflect the financial thresholds demanded by the FTX
Recovery Trust’s KYC requirements. This is because my income ceased post-petition, a
circumstance unrelated to the validity of my claim, which is based on pre-petition events.

4. | declare that the foregoing is true and correct to the best of my knowledge.

Executed on this 23rd day of May, 2025.

Respectfully,

Andre Botha
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Mr. Andre Botha

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